 8:07-cr-00032-LSC-TDT        Doc # 78     Filed: 09/28/09     Page 1 of 1 - Page ID # 350




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )               CASE NO. 8:07CR32
                                              )
              Plaintiff,                      )
                                              )
              vs.                             )                       ORDER
                                              )
ENOCH PITTMAN,                                )
                                              )
              Defendant.                      )

       This matter is before the Court on the Defendant’s motion to compel the government

to file a motion for reduction of sentence (Filing No. 77).

       As the plea agreement states, the decision to file a motion under Criminal Rule of

Procedure 35 is left solely to the discretion of the U.S. Attorney.

       IT IS ORDERED that the Defendant’s motion to compel the government to file a

motion for reduction of sentence (Filing No. 77) is denied.

       DATED this 28th day of September, 2009.

                                                  BY THE COURT:


                                                  s/Laurie Smith Camp
                                                  United States District Judge
